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1                                        UNITED STATES DISTRICT COURT

2                                            DISTRICT OF NEVADA

3                                                        ***
      BANQ, INC., a Florida corporation,
4
                            Plaintiff,
5                                                           2:22-cv-00773-MMD-VCF
      v.                                                    ORDER
6     SCOTT PURCELL, an individual, GEORGE
      GEORGIADES, an individual, KEVIN
7
      LEHTINIITTY, an individual, FORTRESS
8
      NFT GROUP, INC. d/b/a FORTRESS
      BLOCK CHAIN TECHNOLOGIES, a
9     Delaware corporation, and PLANET NFT,
      INC., a Delaware corporation,
10
                            Defendant.
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            Before the Court are the motion to compel production of documents from defendants for first set
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     of requests for production (ECF No. 48) and defendants’ motion to stay discovery pending resolution of
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     motion to compel arbitration and dismiss, or alternatively, stay the litigation (ECF NO. 61).
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            Accordingly,
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             IT IS HEREBY ORDERED that a video conference hearing on the motion to compel production
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     of documents from defendants for first set of requests for production (ECF No. 48) and defendants’ motion
17
     to stay discovery pending resolution of motion to compel arbitration and dismiss, or alternatively, stay the
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     litigation (ECF NO. 61)., is scheduled for 1:00 PM, January 4, 2023, before Judge Cam Ferenbach.
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            IT IS FURTHER ORDERED that counsel/the parties must email the Courtroom Administrator,
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     Tawnee Renfro at Tawnee_Renfro@nvd.uscourts.gov, with an email address to be used for the video
21
     conference hearing by noon, January 3, 2023.
22
            IT IS ORDERED that the following Video Conference Instructions be adhered to as follows:
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            INSTRUCTIONS FOR VIDEO CONFERENCE HEARING
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            Instructions to the scheduled hearings will be sent via email thirty (30) minutes prior to the hearing
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     to the participants email provided to the Court.
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2    •     Log on to the call ten (10) minutes prior to the hearing time.

3    •     Mute your sound prior to entering the hearing.

4    •     Do not talk over one another.

5    •     State your name prior to speaking for the record.

6    •     Do not have others in the video screen or moving in the background.

7    •     No recording of the hearing.

8    •     No forwarding of any video conference invitations.

9    •     Unauthorized users on the video conference will be removed.

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12   DATED this 23rd day of November 2022.
                                                         _________________________
13                                                       CAM FERENBACH
                                                         UNITED STATES MAGISTRATE JUDGE
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